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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

BRUCE VAN ALSTYNE,                     §
Plaintiffs                             §
                                       §     CIVIL ACTION NO. _____________
vs.                                    §
                                       §
GC SERVICES, LP,                       §
Defendant                              §


                           ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW Bruce Van Alstyne, hereinafter referred to as Plaintiffs

complaining against GC Services, LP, hereinafter referred to as Defendant and for

cause of action would respectfully show unto the Court as follows:

              NATURE OF THE ACTION AND JURISDICTION

1.    This is an action for damages brought by individual plaintiffs for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices. Plaintiffs seek to recover

monetary damages for Defendant’s violation of the FDCPA, the TDCPA and the

DTPA and to have an Order or injunction issued by this Court preventing
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Defendant from continuing its behavior in violation of the FDCPA. Jurisdiction of

this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337 and venue is

proper before this Court as Plaintiff and/or Defendant reside in this District and/or

the complained of actions occurred in this District. Service may be made upon

Defendant in any other district in which it may be found pursuant to 29 U.S.C.

§1132(e)(2).

2.    Plaintiff, Bruce Van Alstyne, is a natural person residing in Brazos County.

Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

3.    Defendant, GC Services, LP, is a corporation engaged in the business of

collecting consumer “debts” as defined by 15 U.S.C. §1692(a)(5) by use of the

mails and telephone, and Defendant regularly attempts to collect debts alleged to

be due another, and is therefore a “debt collector” as defined by § 1692(a)(6).

4.    The actions of Defendant which are the subject of this complaint were

undertaken pursuant to a “debt collection,” as defined by Tex Fin Code §

392.001(5), and therefore Defendant is a “debt collector” as defined by Tex Fin

Code § 392.001(6).

                                 FIRST COUNT

5.    At various and multiple times prior to the filing of the instant complaint,

specifically during the month of August 2008, including within one year preceding

the filing of this Complaint, Defendant contacted Plaintiff in an attempt to collect
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an alleged outstanding consumer debt. Defendant’s conduct violated the FDCPA in

multiple ways, including but not limited to:

     a) Communicating with Plaintiff after having received a letter from Plaintiff

        with a request to cease and desist all collection contacts or a statement that

        Plaintiff refuses to pay the debt (§ 1692c(c));

     b) Threatening to take an action against Plaintiff that cannot be legally taken or

        that was not actually intended to be taken, including threatening to garnish

        Plaintiff immediately within the initial thirty day dispute period, which also

        overshadowed the initial disclosures required by 15 USC § 1692g (§

        1692e(5) & § 1692g(b);

     c) Causing Plaintiff’s telephone to ring repeatedly or continuously with intent

        to harass, annoy or abuse Plaintiff (§ 1692d(5)); and

     d) Communicating with Plaintiff directly after learning that Plaintiff is being

        represented by counsel (§ 1692c(a)(2).


6.      As a result of the above violations of the FDCPA, Plaintiff suffered and

continue to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.
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                         SECOND COUNT
     VIOLATION OF THE TEXAS DEBT COLLECTION PRACTICES ACT


7.       Plaintiff reincorporates by reference herein all prior paragraphs above.

8.       Defendant violated the Texas Debt Collection Practices Act in one or more

of the following ways:

      a) Threatening to take an action prohibited by law including threatening to

         garnish Plaintiff immediately within the initial thirty day dispute period in

         violation of Tex Fin Code § 392.301(8);

      b) Causing Plaintiff’s telephone to ring repeatedly or continuously, or making

         repeated or continuous telephone calls, with the intent to harass Plaintiff in

         violation of Tex. Fin. Code §392.302(4); and

      c) Was otherwise deceptive and failed to comply with the Fair Debt Collection

         Practices Act.

9.       As a result of Defendant’s violations as aforesaid, Plaintiff suffered a

substantial disruption in his daily routine thus warranting an award of emotional

and/or mental anguish damages.

10.      Defendant’s aforementioned statutory violations also constitute an invasion

of Plaintiff’s right to privacy, causing additional injury to Plaintiff’s feelings,

mental anguish and distress.
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11.   As a result of the above statutory violations and invasion of privacy, Plaintiff

suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental anguish and emotional distress, and Defendant is liable to

Plaintiff for Plaintiff’s actual damages, exemplary damages, statutory damages,

and costs and attorney’s fees.

                                   THIRD COUNT
                        VIOLATION OF THE TEXAS DECEPTIVE TRADE
                                  PRACTICES ACT


12.   Plaintiff reincorporates by reference herein all prior paragraphs above.

13.   This suit is brought, in part, under the authority of Tex. Bus. & Com. Code §

17.41 et seq., commonly known as the Deceptive Trade Practices and Plaintiff

Protection Act and cited in this petition as the “DTPA”.

14.     Defendant was given notice in writing of the claims made in this Petition

more than sixty days before this suit was filed in the manner and form required by

DTPA §17.505 (a).

15.      Defendant made numerous material misrepresentations in an attempt to

collect the purported consumer debt as detailed above.

16.   Defendant knew or should have known that its representations were false

and/or acted in reckless disregard for the truth or falsity of its representations.

17.   Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiffs.
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18.      Defendant’s actions as detailed above constitute a violation of the Texas

Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

19.      The conduct described above has been and is a producing and proximate

cause of damages to Plaintiff. Plaintiff’s damages include: Statutory damages of at

least $100.00 per violation, actual/economic damages, emotional and/or mental

anguish damages, exemplary/punitive damages, and Plaintiff’s attorneys’ fees and

costs.

20.      Additionally, Plaintiff seeks an award of discretionary additional damages in

an amount not to exceed three times the amount of economic damages if

Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

21.       Plaintiff seeks reasonable and necessary attorney’s fees in this case through

the time judgment is entered and for any post-trial or post-judgment appeals, to be

detailed through a statement of services submitted at the appropriate time.



                         FOURTH COUNT
           COMMON LAW INVASION OF PRIVACY BY INTRUSION


22.      Plaintiffs reincorporates by reference herein all prior paragraphs above.
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23.         Defendant’s aforementioned violations also constitute an intentional

intrusion into Plaintiff’s private places and into private matters of Plaintiff’s life,

conducted in a manner highly offensive to a reasonable person. Plaintiff have a

subjective expectation of privacy in the context of Defendant’s actions that was

objectively reasonable under the circumstances.

            WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

Defendant be cited to appear and answer herein and upon final hearing hereof,

Plaintiff has judgment of and against Defendant as follows:

      (a)     a declaratory judgment be entered that Defendant’s conduct violated the

              FDCPA;

      (b)     an award of actual damages;

      (c)     an award of statutory damages pursuant to 15 U.S.C. § 1692k;

      (d)     an award of costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

              1692k; and,

      (e)     a declaratory judgment be entered that Defendant’s conduct violated the

              Texas Deceptive Trade Practices Act;

      (f)     an award for all actual damages, exemplary damages, emotional/mental

              anguish damages and all statutory additional damages, all attorneys fees,

              costs of court, and pre-judgment and post-judgment interest at the highest

              lawful rates.
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   (g)   seeks an award of discretionary additional damages in an amount not to

         exceed three times the amount of economic damages if Defendant’s

         conduct is found to have been committed knowingly; or an amount not to

         exceed three times the amount of economic and mental anguish damages

         if Defendant’s conduct is found to have been committed intentionally.

   (h)   such other and further relief as may be just and proper.


                                             Respectfully submitted,


                                             By: /s/ Susan Landgraf
                                             Susan Landgraf
                                             SD # 15824
                                             Texas State Bar # 00784702
                                             Attorney in Charge for Plaintiff

WEISBERG & MEYERS, L.L.C.
4510 Bull Creek Road
Austin, TX 78731
Phone: (512) 436-0036 ext. 116
Facsimile: (866) 317-2674



                         CERTIFICATE OF SERVICE


I certify that on October 24, 2008, I filed the foregoing document with the clerk of
the U.S. District Court, Southern District of Texas, Houston Division, by using the
electronic filing system of the court.


                                                        _____/s/ Susan Landgraf__
                                                          SUSAN A. LANDGRAF
